TREG R. TAYLOR
ATTORNEY GENERAL

Margaret Paton-Walsh (Alaska Bar No. 0411074)
Chief Assistant Attorney General
Aaron C. Peterson (Alaska Bar No. 1011087)
Senior Assistant Attorney General
Department of Law
1031 West Fourth Avenue, Ste. 200
Anchorage, AK 99501
Telephone: (907) 269-5232
Facsimile: (907) 276-3697
Email: margaret.paton-walsh@alaska.gov
       aaron.peterson@alaska.gov

Attorneys for the State of Alaska

                     IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF ALASKA

 United States of America,                    )
                                              )
               Plaintiff,                     )
                                              )
 v.                                           )   Case No.: 1:22-cv-00054-SLG
                                              )
 State of Alaska; Alaska Department of        )
 Fish & Game; Doug Vincent-Lang,              )   PARTIAL OPPOSITION TO
 Commissioner,                                )   KUSKOKWIM RIVER INTER-
                                              )   TRIBAL FISH COMMISSION’S
               Defendants.                    )   MOTION TO INTERVENE AS
                                              )   PLAINTIFF

                                    INTRODUCTION

       The State of Alaska, Alaska Department of Fish & Game, and

Commissioner Doug Vincent-Lang, (collectively “the State”) hereby submit this partial

opposition to the Kuskokwim Intertribal Fish Commission’s (KRITFC) Motion to

Intervene as Plaintiff (Dkt. 12) and Motion to Join in the United States’ Motion for a

United States v. Alaska                                    Case No. 1:22-cv-00054-SLG
Partial Opp. to KRITFC Mtn. to Intervene as Plaintiff                               1
         Case 1:22-cv-00054-SLG Document 23 Filed 06/14/22 Page 1 of 9
Preliminary Injunction (Dkt. 14). While the State takes no position on KRITFC’s motion

to intervene in this matter generally, the State does oppose KRITFC being granted

intervenor status during the preliminary injunction phase of the litigation and,

necessarily, opposes KRITFC’s Motion to Join the United States’ Motion for Preliminary

Injunction.

         The United States filed its Motion for a Preliminary Injunction on May 24, 2022. 1

Pursuant to L.Civ.R. 7.2(b)(2) the State’s opposition was due on June 7, 2022.

KRITFC moved to intervene in the matter on May 31, 2022 and, critically, did not seek

expedited consideration of its proposal to be granted intervenor status. 2 KRITFC,

before its non-expedited motion to intervene had been responded to or ruled upon, then

filed a Motion to join the United States’ Motion for Preliminary Injunction on

June 3, 2022, 3 which did not afford the State adequate opportunity to respond to the

allegations raised.

         As a purely procedural matter, KRITFC’s Motion to Join should be denied

because it failed to seek expedited consideration of its Motion to Intervene, which, under

the non-expedited timelines, likely will not be decided until after the preliminary

injunction is fully litigated by the parties.

         As a substantive matter, KRITFC’s request to participate in the preliminary

injunction proceedings is untimely and should be denied.


1
    Dkt. 5. United States’ Motion for Preliminary Injunction.
2
    Dkt. 12. KRITFC’s Motion to Intervene as Plaintiff.
3
    Dkt. 14. KRITFC’s Joinder in United States’ Motion for Preliminary Injunction.

United States v. Alaska                                     Case No. 1:22-cv-00054-SLG
Partial Opp. to KRITFC Mtn. to Intervene as Plaintiff                                2
           Case 1:22-cv-00054-SLG Document 23 Filed 06/14/22 Page 2 of 9
                                         ARGUMENT

         Rule 24 of the Federal Rules of Civil Procedure provides:

            (a) Intervention of Right. On timely motion, the court must permit
            anyone to intervene who:
                (1) is given an unconditional right to intervene by a federal statute;
                or
                (2) claims an interest relating to the property or transaction that is
                the subject of the action, and is so situated that disposing of the
                action may as a practical matter impair or impede the movant's
                ability to protect its interest, unless existing parties adequately
                represent that interest…
            (b) Permissive Intervention.
                (1) In General. On timely motion, the court may permit anyone to
                intervene who:
                    (A) is given a conditional right to intervene by a federal statute;
                    or
                    (B) has a claim or defense that shares with the main action a
                    common question of law or fact. 4

         “Timeliness is ‘the threshold requirement’ for intervention as of right,” 5 and it is

“a flexible concept; its determination is left to the district court's discretion.” 6 If the court

finds “that the motion to intervene was not timely, it need not reach any of the remaining

elements of Rule 24. 7

         Timeliness is determined by the totality of the circumstances, with a focus on three

primary factors: (1) the stage of the proceeding at which an applicant seeks to intervene;




4
    Fed.R.Civ.P. 24. (emphasis added)
5
 League of United Latin Am. Citizens v. Wilson, 131 F.3d 1297, 1302 (9th Cir.1997)
(quoting United States v. Oregon, 913 F.2d 576, 588 (9th Cir.1990)).
6
    Dilks v. Aloha Airlines, 642 F.2d 1155, 1156 (9th Cir.1981).
7
    United States v. State of Wash., 86 F.3d 1499, 1503 (9th Cir. 1996).

United States v. Alaska                                        Case No. 1:22-cv-00054-SLG
Partial Opp. to KRITFC Mtn. to Intervene as Plaintiff                                   3
           Case 1:22-cv-00054-SLG Document 23 Filed 06/14/22 Page 3 of 9
(2) the prejudice to other parties; and (3) the reason for and length of the delay. 8

Here, KRITFC has moved for both intervention as of right and permissive intervention. 9

But the Court need not address timeliness twice because an alternative request for

permissive intervention is necessarily untimely when movant fails to satisfy the

timeliness element for intervention as of right. 10 And critical here, the “burden is on the

applicant to demonstrate that the conditions for intervention, including timeliness, are

met.” 11

         KRITFC’s motion plainly fails to satisfy the burden of establishing timeliness for

intervention at the preliminary injunction stage of these proceedings.

         1. Stage of proceeding

         KRITFC seeks to intervene in the general proceeding’s writ large, and the

State takes no position on that. However, KRITFC also seeks to intervene in the

preliminary injunction stage of the litigation, and made its intention known by filing a

motion seeking to join the United States’ Motion for Preliminary Injunction just days

before the State’s substantive response to the United States’ motion was due.

Tellingly, KRITFC’s joinder motion does not mention timeliness at all.




8
  Smith v. Los Angeles Unified Sch. Dist., 830 F.3d 843, 854 (9th Cir. 2016)
(citation omitted).
9
    See Dkt. 12.
10
  Stadnicki on Behalf of LendingClub Corp. v. Laplanche, 804 Fed. App'x 519, 522
(9th Cir. 2020).
11
  Petrol Stops Northwest v. Continental Oil Co., 647 F.2d 1005, 1010 n. 5 (9th Cir.),
cert. denied, 454 U.S. 1098 (1981)

United States v. Alaska                                      Case No. 1:22-cv-00054-SLG
Partial Opp. to KRITFC Mtn. to Intervene as Plaintiff                                 4
           Case 1:22-cv-00054-SLG Document 23 Filed 06/14/22 Page 4 of 9
         KRITFC did address timeliness in its motion to intervene in the litigation

generally, filed several days before to the joinder motion, but simply asserted that

“there is no prejudice to any other Party” and “no need to weigh the reason for and length

of [any] delay because there has been no meaningful delay in the Commission’s

intervention.” 12 Both of these points are demonstrably false, as explained below.

         2. Prejudice to the State

         Given the briefing schedule on the preliminary injunction motion, the State was

not afforded adequate time to assess the additional arguments and representations of fact

made in KRITFC’s joinder motion, and the State would suffer serious prejudice if the

Court were to consider those arguments absent additional time granted the State to

respond to the arguments on the merits.

         The State filed its opposition before the non-expedited motion to intervene was

ruled upon, so the State could not reasonably have been on notice that it should have

responded to yet another plaintiff’s arguments on an extremely condensed timeline.

Permitting intervention now, after the State has filed its opposition to the Motion for a

Preliminary Injunction, would clearly prejudice the State and potentially result in delay to

the disposition of the matter.




12
     Dkt. 12. pp. 4-5. (internal quotations and citations deleted)

United States v. Alaska                                        Case No. 1:22-cv-00054-SLG
Partial Opp. to KRITFC Mtn. to Intervene as Plaintiff                                   5
           Case 1:22-cv-00054-SLG Document 23 Filed 06/14/22 Page 5 of 9
         3. Reason for length of delay

         A “party seeking to intervene must act as soon as he knows or has reason to know

that his interests might be adversely affected by the outcome of the litigation.” 13 By its

own admission, KRITFIC did not file as soon as it knew its interests might be affected by

the outcome of the preliminary injunction proceedings. 14 Further, if KRITFC wished to

participate in those proceedings, it should have filed its Motion to Intervene on an

expedited basis, and should not have filed its Motion to Join the pleading on a

Friday afternoon knowing the State’s opposition was due the following Tuesday.

         It is clear that KRITFC unduly delayed seeking intervention in this phase of the

litigation. And when a party seeking intervention delays in this manner, it must provide a

reason for its delay in seeking to enter into the case. 15 Rather than providing a persuasive

reason for the delay, KRITFC simply states that “there has been no meaningful delay in

the Commission’s intervention.” 16 However, KRITFC’s argument willfully ignores the

nature of the preliminary injunction proceedings in this matter. The State had 14 days to

respond to a motion for a preliminary injunction, and several of those days were spent

responding to the United States’ motion for a temporary restraining order.




13
  California Dep't of Toxic Substances Control v. Com. Realty Projects, Inc., 309 F.3d
1113, 1120 (9th Cir. 2002).
14
  See Dkt. 12, p. 4 (KRITFC “has chosen to bring this intervention action after briefing
and consideration of the TRO motion…”).
15
     Alisal, 370 F.3d at 923.
16
     Dkt. 12, p. 5.

United States v. Alaska                                      Case No. 1:22-cv-00054-SLG
Partial Opp. to KRITFC Mtn. to Intervene as Plaintiff                                 6
            Case 1:22-cv-00054-SLG Document 23 Filed 06/14/22 Page 6 of 9
KRITFC admits that it intended to “join” in the Preliminary Injunction phase of litigation

but did not do so until days before the State’s opposition was due. 17

         KRITFC’s assertion that it waited to file the “intervention action after briefing and

consideration of the TRO motion so as not to add any additional complexity or cause any

delay on that important issue” 18 makes good sense for intervention in the general

litigation, but fails entirely when it comes to the preliminary injunction proceedings.

Seeking to intervene in the preliminary injunction proceedings days before the

State’s pleading is due is no different than seeking to intervene while the TRO was being

litigated, with the same resulting “additional complexity” and potential for delay.

         Finally, KRITFC presented no justification for failing to file its Motion to Join in

the Preliminary Injunction when it filed the non-expedited Motion to Intervene on

May 31. To the extent that KRITFC wished to be involved in the preliminary injunction

proceedings, it should have, at the very least, filed the Motion to Join at the earliest

possible moment. While the State would have still have been prejudiced by the untimely

nature of the motion, it would potentially have been afforded adequate time to respond.

         Because KRITFC’s motion to intervene in the preliminary injunction proceedings

is not timely, the Court need not reach any of the remaining elements of Rule 24 in

denying intervention for the purposes of litigation the preliminary junction. 19




17
     See Supra n. 14.
18
     Dkt. 12, KRITFC Motion to Intervene, p. 4.
19
     State of Wash., 86 F.3d at 1503.

United States v. Alaska                                       Case No. 1:22-cv-00054-SLG
Partial Opp. to KRITFC Mtn. to Intervene as Plaintiff                                  7
           Case 1:22-cv-00054-SLG Document 23 Filed 06/14/22 Page 7 of 9
                                    CONCLUSION

      For the foregoing reasons, the State respectfully requests that the Court deny

KRITFC’s motion to Intervene as it relates to the preliminary injunction. The State takes

no position on KRITFC’s motion after the conclusion of the preliminary injunction

proceedings are complete.

      DATED: June 14, 2022.

                                  TREG R. TAYLOR
                                  ATTORNEY GENERAL

                                  By: s/ Margaret Paton-Walsh
                                         Margaret Paton-Walsh
                                         (Alaska Bar No. 0411074)
                                         Chief Assistant Attorney General
                                         s/Aaron C. Peterson
                                         Aaron C. Peterson
                                         (Alaska Bar No. 1011087)
                                         Senior Assistant Attorney General
                                         Office of the Attorney General
                                         Natural Resources Section
                                         Department of Law
                                         1031 West Fourth Avenue, Ste. 200
                                         Anchorage, AK 99501
                                         margaret.paton-walsh@alaska.gov
                                         aaron.peterson@alaska.gov
                                         Phone: (907) 269-5232
                                         Facsimile: (907) 276-3697

                                         Attorneys for the State of Alaska




United States v. Alaska                                   Case No. 1:22-cv-00054-SLG
Partial Opp. to KRITFC Mtn. to Intervene as Plaintiff                              8
         Case 1:22-cv-00054-SLG Document 23 Filed 06/14/22 Page 8 of 9
                               CERTIFICATE OF SERVICE

       I hereby certify that on June 14, 2022, I caused the foregoing document to be

electronically filed with the Clerk of the Court using the CM/ECF system, which will

serve all counsel of record.



/s/ Christian S. Faatoafe
Christian S. Faatoafe
Law Office Assistant I




United States v. Alaska                                  Case No. 1:22-cv-00054-SLG
Partial Opp. to KRITFC Mtn. to Intervene as Plaintiff                             9
         Case 1:22-cv-00054-SLG Document 23 Filed 06/14/22 Page 9 of 9
